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Case 2:13-cv-05104-GW-AJW Document1 Filed 07/16/13 Page 1lof9 Page ID

GOLDSMITH & HULL, AP.C. File # CDCS892 we
William 1. Goldsmith SBN 82183 :
Jack D. Hull SBN 91879
Howard D, Myers SBN 41811
‘16933 Parthenia Street, Suite 110
‘Northridge, CA 91343

Telephone: $18} 990-6600
Facsimile: (818) 990-6140
govdeptl@goldsmithcalaw.com

 

‘Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

' Cvi3z- 5104

UNITED STATES OF AMERICA, - CASE NO.:

Plaintiff,
COMPLAINT O
Vv. PROMISSORY. NOTE (S)

BRENT D COLBERT aka BRENT
COLBERT,

 

Defendant.

 

For its claim, Plaintiff, acting on behalf of the DEPARTMENT OF EDUCATION
eges as follow:
1. This court has jurisdiction under title 28 U.S.C, Section 1345 and Title 20
U.S.C. Section 1080, and the Defendant resides in the County of LOS ANGELES,
2. In consideration of student loans guaranteed by Plaintiff, Defendant executed

promissory note(s), copies of which are attached hereto as Exhibit(s}“1" on the date(s)

set forth on said note(s).
3. Said note(s) and all rights to the obligations undertaken therein were thereafter} .--- --=-

4. Defendant has defaulted in the payment of the obligations due under the said

note(s) according the their terms.

#2

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Case 2:13-cv-05104-GW-AJW Document1 Filed 07/16/13 Page 2of9 Page ID#3

5. Defendant owes to Plaintiff after applying all payments and proper credits the

amounts hereinafter prayed for. | |

WHEREFORE, Plaintiff prays for judgment against Defendant as follow:
" 1, As to Plaintiff First Claim: |

The principal amount of $9,152.40, plus interest accrued from the default to
AUGUST 3, 2011, in the sum of $1,740.27 with further interest at 3.38% per annum
accruing at $0.85 per day until entry of judgment; with interest thereafter at the legal rate
plus penalties/administrative charges of $0.00.

 

 

2.And upon all claims;
A. For cost incurred.
B. For a surcharge of ten percent of the amount of the debt owed pursuant to 28
"U.S.C. Section 3011, or attorneys fees.
C, For such other and further relief as to the Court seems just.
DATED: [8 3 _ GOLDSMITH & HULL, A P.C.
|

 

 
Case 2:13-cv-05104-GW-AJW Document1 Filed 07/16/13 Page 3of9 Page ID#:4

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Case 2:13-cv-05104-GW-AJW Document1 Filed 07/16/13 Page 4of9 Page ID#5

p “Promissory Note | Page | of 3
|
|

FEB Y A 2605

Borrower's Name: BRENT COLBERT '
| Borrower's Social Security Numbersii}-4212

' REPAYMENT PLAN SELECTION

. Carefully read question #5, “What are my repayment pien options?," on the "Frequently Asked Questions” Page to
understand the repayment plans avaliable to you. Then, mempiets this section te select your repayment plan.
Remember-- . :

~ All student loans must be repaid under the sarne repayment dian, Parent PLUS loans may be repaid under a different
repayment plan.

- If you select the Income Contingent Repayment Plan, you must complete the “Repayment Plan Selection" AND “Income
Contingent Repayment Plan Consent te Disclosure of Tax infogmation" forms, Both forms can be downloaded from the
"Forms and Publications" Page, Your selection cannot be processed without these forms.

- Tf you want to cansolidate a defautted student loan{s} and you have nat made a satisfactory repayment
arrangement with your current holdar(s}, you must select the Incame Contingent Repayment Plan.

i
_ Place an "X" in the box that corresponds to your repayment plan ! election for each loan type. Note that Olrect PLUS
* Consolidation Loans cannot be repald under the income Contingent Repayment Plan.

Trncome
. Contingent Standard Extended Graduated
: Direct Subsidized and Unsubsidized
| STUDENT LOANS Consolidation Loans: x
| PARENT LOANS Direct Pius Consolidation Loans: AVA

 

PROMISSORY NOTE |

Promise to Pay: 4 .

I promise to pay to the U.S. Gesartment of Education (ED) all sums (hereafter “ioan” or "loans™) disbursed under the terms of this
Promissory Note (note) to disthange my prior loan obligations, plus interest, and other fees that may becere due as provided In this note,
IF i tal to make payments on this note when due, I will aise pay collection costs Including Sut met limited to attomey's fees and court costs.
JT 8D accepts my application, f understand that Eb wil on my behalf send funds to the holder{s) of the loan{s) seiected for consolidation in
order te pay aff this laan{s}. ] further understand that the amount of Gis loah will equal the sum of the amount(s) that the holder(s} of the
joznis} verified as the payoff bglunce(s) an that ioan{s) selected for consolidation. My signature on this note will serve as my authorization
ta pay off the balance(s) of the loan(s} selected for consclidation as provigediby the holder(s) of such tean(s).

“This amount may be more or less than the estimated total balance 7 have iné}cated in-the Loan Infarmation Section, Further, T understand
that if any collection costs are owed on the jaans selected for consalldation, these sosts May me added te the principal balance of the
consolidation lean, ' ,

E
J understand that this is a Promissory Note, F wil! qot sign this note before readling it, fachiding the text on the reverse side, even if lam
advised not to read the note. J am entitled to an exact copy of thia note and alstatement of the Borrower's Rights and Responsibilities, My
signature certifies that I have read, understand, and agree, to the berms and jonditions of tris note, Including the Borrower Gertiicatton
and Authorization printed on the reverse side and the Borrower's Rights and Respansipilitjes.

|
If consolidating Jointly with my spouse, we agree to the same terms and condifions contained in the Borrower Certification and
Authorization, in addition, we conficm that we are legally marted te each othet and understand and agree that we are and wil continue to °
be held Jointly and severally Hable for the entire amount of the debt represented by the Federal Direct Cansoildation Loan without regard to
the amneunts of our Individual Ioan obilgatiens thet are consolidated and without regard in any change that may eccur in our marital status.
We understand that this means that one of us may be required to pay the entirle amount die if the other is unable Gr refuses to pay. We
Undeestand that the Fecerat Direct Consolidatian Loan we are applying for wil be cancelled only # both of us quelify for cariceliation. We
further understand that we may postpone repayment of the loan only if we arovide ED with written requests that confirm Federal Direct
Consolidation Loan Program deferment or forbearance eliglblity for both of us at the same time. ,

I UNDERSTAND THAT THIS 15 & FEDERAL LOAN THAT I MUST REPAY.

Bode GU be eb wees

» Signature of Borrower Date

 

" fite://C-AProjects\WebPagePrint\ToPrint\57078421201312005PromNote.him : |g |. 2/2/2005

     
 

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Case 2:13-cv-05104-GW-AJW Document1 Filed 07/16/13 Page5of9 Page ID #6

 

  

PERRET e nC nS are

 

Direct REPAYMENT PLAN SELECTION [Se

OMS No. 1646-0014 *

 

 

 

William D. Ford Federal Direct Loan Program
Loans a

WARNING: Any person who inewingly makes ofaize etsterneni of misrepmasertaton on this form wil bs wubieet to

See neers | venaties which may induce fines, imprisonment er both, under the LS, Code and 20 U5.0, 1367.
See ae ee acpi i _

Read the enclosed information carefully to understand your repayment options and then complete this fourm to select a repayment plan
or to charge your previous repayment plan. if you need help completing this. form, contact the Direct Loan Servicing Center through
one of the options provided in Section 8 on the back of this form. Return the completed form to the acidmss shown in Section 6,
Me ie yi Peers bem Oe eck ta STR ed dea eA Koken ee
Bormwers Name tpiease print clearty}: Barower’s Social Security Number:

tet First Nome Aficlclin fetta!
wees LEW iin
Section 2: Repayment Plan Selection—- fo be completed by ALL BORROWERS fe
Place an “" in te 50x under the repayment plan that you wish te select for each tyne of loan that you owe, The enclosed infornation
describes each of the repayment pians, You must repay all of your Direot Loans together under the sarne repayment plan. However, if
you are & parent or stepparant who has bermwed both Student Loans for your own education and Perarit Leeng far your child's
education, you may repay your Student Loans under one plan and your Parent Loans under a differant plan. You may not repay
Parent Loans under the Income Contingent Rapayment (iCR) Pian. . ‘

     

 

   

    
  

     
     

 

 
   

       

 

Standard Extended Graduated income t
‘ Dect Subic toast _ Contiags!
Direct Uneubsieived
STUDENT LOANS direct Subsidized Consolidation Loan CO tJ oO. Ba
Direct Unsubsidized Consatidation Lege . |
PARENT LOANS Buea Pris Consefion Lene CI | Cr] | Nex Avetizble

   

  

 

Section 3: Spouse information to ba completed by SOME MARRIED BORROWERS ° ee
Complete this section oniy if you are marviad and are (7) selecting the ICR Plan (unless you are separeted from your spoune), oF (2)
selecting a repayment plan for a Direct Consolidation Loan held jointly by you and your spottea,

   

 

 

   

Spouse's Name (please print dearly: Spouse's Soci! Security Number:
Last Mem First Names wot + Akela initial
a |
Esection 4: Additional ICR intormation-= 10 be completed by STUDENT LOAN BORROWERS WHO SELECTICR 4):

   

Complete this section only if you are ealecting the ICR Plan. ;

Note: To repay under the ICR Plan, you must complete eh OR Pian Consent to Disclosure of Tax Information form. You may siso be required to
camplata an iCR Plan Altemative Dopumentation of income form. We heve enclosed the raquirad ICR Plan forms). Please complete and refurn the
ancinsed form(s} along with this Repayment Plan Seleetion fora. It you do not aubmit the required JOR form(a}, you will be planed on the Standard
Repayment Plan (unless you were previousiy on another Direct Loan repeymant pian}.

When you begin repaying your fopn under ICR, your intial payrnent amount wif be the f2 emount of Interest that ancurtulates on your joalt each menth.
You are responsibie for payin this inida’ amount unl we have the Information neaded to calculate your actual ICR Payment and notify you of thet
amount. if you cannoli afford the lalla! Interest payment, you may request a forbearance uni] you are notified of your actual IGP payment Ouring e
forbearance you are nol required to make any payments of princpel or mlerest, hut interest continues io accumulale on your loan. if you are baginning
repayment of your Direct Loan for the final time, Interest that you de not pay during the forbearance will be capitalized iedded to your obitsianding
principal balance) at the end of the forbearance. Capitalization Increases. your loan’s principal amount and therefone, the iolal amount of interast you wif
repay on your loan. {fT you are requesting a change fom ancther Direct Loan repayment plan te ICR plan, you may receive a tarbearerce for up io 0
days during whith unpaic interact wil nol be capitalized, During the 60 day period, you will nave to provide us with the information that we need to
caiculgte your payment amount under IGR. To request a forbearance, contect the Direct Loan Servicing Center tough one of the options provided an
your billing statements.

A. Family Size, Enter your family size on the line below, . Your family size number inciudgs you and your spouse, Ht Includes your
Shildren if they get more than half their support from you. It Includes other peopie only ik (1) they now thve wilh you, and (2} they naw
get more thar half their support from you ene they will continue to get this support from you, Support includes money, gifts, loans,
housing, food, clothes, car, medical and dental care, payment of college caste, atc. Hf your family size number changes, notify thy
Direct Loan Servicing Genter In writing at tha malling address or the web site address shown in Saction 6.

Family Size |

B. ICR Joint Repayment Option. If you and your spouse each have Direct Lozns and both of you wart to repay the loans under the
JOR Plan, you may choose to repay your foans jointly, !f you choose to repay jointly, place an “X" in the box below and have your
sbouse sign and dais this form.

r i wish to repay my loan(s} jointly with my spouse undar ihe IOR Plan,

C, Certification, Read the certification statement below, then sign and date this form. if you selected the ICR Joint Repayment Option
-.($e@,"B", above), your spouse must algo sign 2nd tate this form.

 

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agree to provide proof of the into ae ai have provided on this form.
Borrower's Signature eae ao A ~ : : Date
Spouse's Signature Gt required) Date

 

 

 

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DIFECT — witiam 0. Ford Federal Direct Loan Program Sar oe
! Income Contingent Repayment Plan

Loans Consent to Disclosure of Tax Information

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‘| (We) authorize the Interna! Revenue Service (IRS} to disclose certain tax retum information (for thes tax i

which includes my (our) name(s), address(es}, Soa! Security Number(s}, fling status, tax vost ancd Adiusted Gross beets)
“This information wili be disclosed io the U.S, Depariment of Education (ED) and the William D, Ford Federal Direct Loan. (Direct
Loan) Program contractors and subcontractors for the sole purpose of determining the appropriate iricome cantingent
repaymen! amount on the Direct Loan Program loan(s) that ie subject to Income contingent repayment. BOs Direct Lean
‘Program contractors and subcontractors may change. You may obtain the names of the erent Direat Lozn Program
contractors and subcontractors by writing to ED at the address shown at the-bottom of this page. ‘

Request for Tax Years: 2001, 2002, 2003, 2004, and 2005.

re 4 26n8

See the back of this form far instructions.

Beever couse yr e212
{1} Borrower's (Taxpayer's) Name Printed as if (2) Borrower's (Taxpayer's) Social Security Number
appears on tax returns

Te i G\— MT 20101. S taw-po-yy)

S) Borrowers (Taxpayer's) Signature Dale form was signed
Signature is valld for 60 days ~ see Instriictions
on the back of the form.

PLEASE NOTE: if you are married, your spouse is required to complete the following:

 

(4) Spouse's (Taxpayer's) Neme-Printed as it appears {5} Spouse's (Taxpayer's) Social Security Number
on fax returns ,

- oe

_ Li Hef | tt} (MM-DD-YYYY)
(6} Spouse's (Taxpayer's) Signature Date form was signed

Signature is valid for 60 days ~ see instructions

on the back of the form.

 

Return this form to: U.S. Department of Education
Consolidation Department
Loan Origination Center
P.O, Box 242800
Louisville, KY 40224-2800

 

 

 

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Ags 7s

 

 
Case 2:13-cv-05104-GW-AJW Document1 Filed 07/16/13 Page 7of9 Page ID#:8

CDCS NO: 2011483871

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, OMe p 10 4

Plaintiff,
‘ SUMMONS
Vv.

BRENT D COLBERT
aka BRENT COLBERT
Defendant(s). ny
/

TO THE ABOVE-NAMED DEFENDANT(S), You are hereby summoned and required to file with
the court and serve upon. .

Plaintiff's attorney whose address is:

GOLDSMITH & HULL, AP.C,
16933 PARTHENIA STREET
NORTHRIDGE, CA 91343

an answer to the complaint which is herewith served upon you within 21 days after
service of this summons upon you, exclusive ofday ofservice. Ifyou failto do so, judgment by default

will be taken against you for the relief demanded in the complaint.

Date:

 

(SEAL OF THE COURT)

SUMMONS

 

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Case 2:13-cv-05104-GW-AJW Document1 Filed 07/16/13 Page 8of9 Page ID#9

 

#
. UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET
J (a) PLAINTIFFS (Cheok hox if you are representing yourself D} DEFENDANTS

UNITED STATES OF AMERICA :
, . ‘ BRENT D COLBERT aka BRENT COLBERT

 

(b) Attomeys (Firm Name, Addrese and Telephone Namber, Ifyou art representing Attomeys (If Known} .
yourself, provide same.) qd. .
GOLDSMITH & HULL, ABC,
14943 PARTHENIA STREBT, SUITE 1H, NORTHRIDGE, CA 91343
(818) 990-6500 FAX (818) 990-6148 govdept l@goldemithcalaw.cam

 

 

TL BASIS OF JURISINCTIGN (Place an X in one box only.) HL CITIZENSHIP GF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
e148. Government Plaintiff (3 Federal Question (U.S. PTF DEF PIF DEF
Government Nat a Party) Citizen of This State O1 O11  Jneorporaicd of Principal Place G4 O14
of Business in this State
20.8. Goverament Defendant © 4 Diversity (Indicate Citizenship | Citizen of Another State QO2 2 Incorporated and Principal Place OS OF
of Parties in Hiem fT} of Dusinces in Another State
Citizen of Subject of a Foreign Country 03 013 Foreign Nation Oé 6

 

 

T¥. GRIGIN (Place an X in one box only.)

ar Original 02 Removed from 013 Remandedfrom O4 Reinstatedor 05 Transferred from another district (specify): O 6 Mult- [7 Appeal te District
Praceeding State Court Appellate Court Reopened Bietriet Judge from
: Litigation Magistrate Judge
¥. REQUESTED INCOMPLAINT: JURY DEMAND: 0 Yea i No (Check ‘Yea’ only if demanded in complaimt.}
CLASS ACTION under PR.CP.23; OYes ONo sf MONEY DEMANDED IN COMPLAINT: $10,892.67

V1. CAUSE OF ACTION (Cite the U.S. Civil Statude under which you are filing and write a brief statement of cause. Do not cite jurisdictional slatotea unleea diversity.)
COMPLAINT GN FEDERALLY INSURED STUDENT LOAN- DEPARTMENT OF EDUCATION TITLE 20'U.5.C. SECTION 1071 AND TITLE 20 U.8,C. SECTION

VIL NATURE OF SUIT (Place an X in one box anly,}

 

 

 
 
   

  
       

    

 

   

  
 

   
 
   

     

     
       

 

 
   

 
 
  

     
    

  
 
   

State Reapportionment Insurance Se PE i {1710 Fair Labor Standards
C1410 Anutrust Ci20 Marine idk ane 5t0 Motions to Act
11430 Banks and Bankiag C130 Miller Act 0315 Airplane Product iry37e G Vacate Sentence {11720 LaborfMgml,
(450 ComanerceICC Fi L40 Negotabie Instrament Liability 2371 Truth in Lending Habeas Corpus Relations
Rates/ete. CP156 Reeavery of 320 Assault, Libet& [1380 OtherPersonat |) 530 General O 730 Labor/Mgmt.
(1460 Deportation Overpayment é& Slander , Property Damage | $35 Death Penalty Reporting &
C490 Racketeer Influenced Enforcement of 0330 tabi (385 Property Damage {13 $4¢ Mandamus! Disclosure Act
and Corrupt Judgment ; Product Liability | ° Other 1740 Raiiway Labor Act
Organizations ; C15) Medicare Act =P Marine Product SE ce Civit Rights ; 790 Other Labor
4B) Consumer Credit 152 Recovery of Defaulted Liability (F422 Appeal 28 USC Prison Condition Litigation
ii 496 Cable/Bat Tv . Student Loan (Exel. (1350 Motor Vehicte 158 O71 Empl. Ret, Tne.
[1810 Sckective Service Veterans) (1355 Motor Vehicle 423 Withdrawal 2 Se Act
0840 Securities/Commodities/ {99 153 Recevery of Product Liability DSC
Exohange . Overpayment of C360 Other Personal , Other Food & Copyrights
O&75 Customer Challenge 12 Yoteran.s Benefits Injury C1441 Voung Dmg C830 Patent
USC 3410 160 Stockholders’ Suits 136% Persona Inpary- | 442 Employment 11625 Drag Related 0 840 Trademark
11890 Gther Slatutory Actions #0190 Other Contract Med Malpractice {1443 Housing/Acca- Seizure of 8
£189] Agriculmral Act (195 Contract Product (1365 Personal Injury- mmodationa Property 21 USC {0 861 HIA(L395ff}
C892 Economic Stabilization Liability Product Liability |O1444 Welfare ast 0) 862 Black Lung (923)
Act 1 196 Franchise (1368 Asbestos Pemonal [O1445 American with ([1 630 Liquor Laws O63 DWCDIWW
C1893 Environmental Mattes ea Injury Product Disabilities - O640 RR. & Truck (405(g)}
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(1900 Appeal of Fee Determi- [0230 Renl Lease & Ejectment [0 462 appieaton Dinabilitics ~ Safety Heallh c
nation Under Equal (2240 Torts to Land ppacation Other O690 Other sea (U.S. Plain
Aseesy to Justice [61.244 Tort Prodvet Liability f4463 Habeas Corpuse = [7440 Osher Civil or Defend
19950 Conslituicnslity of | 290 AN Other Real Property Alien Dewinze Rights CSTE ERS-Third Party 26
State Statutes 0 465 Olhiex immigration “UEC 7809

 

 

 

 

 

 

 

 

 

FOR OFFICE USE ONLY: Caae Number: U 4
AFTER COMPLETING THE FRONT SIDE OF FORM CY-71, COMPLETE THE INFORMATION REQUESTED BELOW,

 

 

CV-71 (05/08) CIVIL COVER SHEET "Pagstof2
¢

Case 2:13-cv-05104-GW-AJW Document 1 Filed 07/16/13 Page 9 of 9 Page ID #:10

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

Vitlta).. IDENTICAL CASES: Has this action been previously filed in this court and dismisaed, memanded or closed? AN 0 Yee
If yes, list case number(s); “ 1

VIT(b).| RELATED CASES: Have any cases been previously filed in this court that are related to the present cage? are O Yes
if yea, Hst case number(s):

 

Civil-cases are deemed related Wa previously fled case and the present case:
{Check all boxng that apply) OA. Arise from the same or closcly rolated transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and Eset; or
CIC. For other reasons would entail substantial duplication of iabor ifheard by different judges: or
ELD. lnvalve the same patent, trademark or copyright, and one of the faclors identified above in a, b or ¢ alsa ia present.

 

IX. VENUE: (When completing the following mformation, use an additional shect if accessary.}

Ze List the County in this Dismrict; Califomia County ontside of this District, State if other than Catiformias or Foreign Country, is which EACH named plaintiff resides;
Check here if the government, sts agencies or emplovegs is + named plaintiff. Tf this box is checked, go to item (b}.

 

County in this Distrist:* Celifornia County outside of this District; State, if other than Californis; or Foreign Country

 

 

(b) List the County in this District, California Couaty outside of this District; State if olher than California, or Foreign Country, in which EACH nasned defendant resides,
O Check here ifthe govemment, its agencies or employers js a named defendant If this bax te checked, go to Her (¢).

 

County in this District:* California County outside of this Dusirict; State, of other than Californie, or Foreign Counuy

 

LOS ANGELES

 

{c) List the County in this District: California County outside of his District, State af other than California, or Foreign Country, in which EACH claim arose,
Note: In band condemnation cuzes, use the location of the traci of land involved. :

 

County in this District:* California County oulside of this Distact; State, if other then Califomia; ar Foreign Country

 

LOS ANGELES

 

 

> ain.

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura ati Lap Counties
Noie: In land condemmation cases, use the local the traefof land pnvolved

- =
X. SIGNATURE OF ATTORNEY (OR PRO PRE}: wa Date Vz ) “2 £3
f

Notice to Counsel/Parties; The CV-71 (15-44) Civil Cover Shfet and the information contained herein neither replace nor supplement the filing and service of pleadinga
or olher papers as required by flaw, This form, approved by the Jugicial Conference of the United States in Septernber 1974, is required parsuandto Local Rule 3-1 is notfiled
but in used by dhe Clerk of the Court for the purpose of statistics, venue and initinting the civil docket sheet. (Por more detalied inatructions, aes separate inetructions shest,)

 

 

Koy to Statistroat codes relating to Social Security Cases:

Nature af Suit Code Abbreviation Substantive Statement of Cause of Action

S61 AIA All claims for health insurance benedita (Medicare) under Title 18, Pact A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled sucsing facilities, ete, for certification as providers of services under the
program. (42 U.8.C, I935FF(b})

862 BL. All claims for “Black Lung” benefits vader Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
GO 115.0, 923}
843 LIwe All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Seousiry Act, 28
amended; plus af] claims fled for child's insurance benefits based on disability. (42 U.S.C. 405(g))
1 863 DIWWw All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Seourity
SO cash awamended: 4208.0, 405Qg))ert 0 ccoctece rt coronene coo coe eet
| 864 8sID All claima for supplemental security income payments based upon disability filed under Title 16 of the Social Security
u Act, as amended.
865 RSI All claims for retivernent (old age) and survivors benefits under Title 2 of the Gacial Security Act, ae amended, (42
: US.C. (g)} .

OUT (058) CIVIL COVER SHEET — — Page ders
